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                             UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF NEW YORK


 ZACHARY WOODBURY,                               Case No.:

                           Plaintiff,            Complaint For:
                 vs.                            (1) Violation of § 14(a) of the Securities
                                                    Exchange Act of 1934
 CALLON PETROLEUM COMPANY,
                                                (2) Violation of § 20(a) of the Securities
 MATTHEW R. BOB, JOSEPH C.
                                                    Exchange Act of 1934
 GATTO, JR., FRANCES ALDRICH
 SEVILLA-SACASA, BARBARA
                                                 JURY TRIAL DEMANDED
 FAULKENBERRY, ANTHONY J.
 NOCCHIERO, MARY SHAFER-
 MALICKI, STEVEN A. WEBSTER, and
 JAMES E. CRADDOCK,

                           Defendants.


       Plaintiff, Zachary Woodbury (“Plaintiff”), by and through his attorneys, alleges upon

information and belief, except for those allegations that pertain to him, which are alleged upon

personal knowledge, as follows:

                                 SUMMARY OF THE ACTION

       1.       Plaintiff brings this stockholder action against Callon Petroleum Company

(“Callon” or the “Company”) and the Company’s Board of Directors (the “Board” or the

“Individual Defendants,” and together with the Company, the “Defendants”), for violations of
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Sections 14(a) and 20(a) of the Securities and Exchange Act of 1934 (the “Exchange Act”) as a

result of Defendants’ efforts to sell the Company to APA Corporation (“Parent”) through merger

vehicle Astro Comet Merger Sub Corp., a wholly owned subsidiary of Parent, (“Merger Sub,” and

together with Parent, “APA”), as a result of an unfair process, and to enjoin an upcoming

stockholder vote on a proposed all-stock merger transaction (the “Proposed Transaction”).

       2.       The terms of the Proposed Transaction were memorialized in a January 4, 2024,

filing with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the definitive

Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the Merger

Agreement, each outstanding share of common stock of Callon will be converted into the right to

receive, without interest, 1.0425 shares of common stock of APA, with cash in lieu of fractional

shares. As a result of the Proposed Transaction, Callon will become a wholly owned subsidiary

of APA.

       3.       Thereafter, on February 1, 2024, in support of the Proposed Transaction, the

Company and APA caused to be filed with the SEC a Form S-4 attaching the Registration

Statement. On February 13, 2024, in support of the Proposed Transaction, the Company and APA

filed with the SEC a Form S-4/A attaching the Amended Registration Statement (together, the

“Registration Statement”).

       4.       The Proposed Transaction is unfair for a number of reasons. Notably, the Proposed

Transaction does not appear to provide for a collar mechanism to keep the merger consideration

value within the realm of reasonableness.

       5.       The Registration Statement is materially deficient, depriving Plaintiff of the

information necessary to make an intelligent, informed, and rational decision of whether to vote

in favor of the Proposed Transaction, and is thus, in violation of the Exchange Act. As detailed



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below, the Registration Statement omits and/or misrepresents material information concerning,

among other things: (a) the sales process and in particular certain conflicts of interest for

management; (b) the financial projections for Callon and APA, provided by Callon management

to the Board and the Board’s financial advisor Morgan Stanley & Co. LLC (“Morgan Stanley”);

(c) the financial projections for Callon and APA, provided by APA management to APA’s Board

and the APA Board’s financial advisors Citigroup Global Markets Inc. (“Citi”) and Wells Fargo

Securities, LLC (“WFS”); (d) the data and inputs underlying the financial valuation analyses that

purport to support the fairness opinion created by Morgan Stanley and provided to the Company

and the Board; and (e) the data and inputs underlying the financial valuation analyses that purport

to support the fairness opinions created by Citi and WFS and provided to APA and APA’s Board.

       6.       Absent judicial intervention, the Proposed Transaction will be consummated,

resulting in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.

                                             PARTIES

       7.       Plaintiff is a citizen of Nevada, and at all times relevant hereto, has been a Callon

stockholder.

       8.       Defendant Callon is an independent oil and natural gas company, focused on the

acquisition, exploration, and development of oil and natural gas properties in West Texas. Callon

is incorporated in Delaware and has its principal place of business at One Briarlake Plaza, 2000

West Sam Houston Parkway South, Suite 2000, Houston, TX 77042. Shares of Callon common

stock are traded on the New York Stock Exchange (“NYSE”) under the symbol “CPE.”

       9.       Defendant Matthew R. Bob (“Bob”) has been a Director of the Company at all

relevant times and serves as Chairman of the Company Board.




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        10.     Defendant Joseph C. Gatto, Jr. (“Gatto”) has been a director of the Company at

all relevant times. Defendant Gatto also serves as the Company’s President and Chief Executive

Officer (“CEO”).

        11.     Defendant Frances Aldrich Sevilla-Sacasa (“Sevilla-Sacasa”) has been a director

of the Company at all relevant times.

        12.     Defendant Barbara Faulkenberry (“Faulkenberry”) has been a director of the

Company at all relevant times.

        13.     Defendant Anthony J. Nocchiero (“Nocchiero”) has been a director of the

Company at all relevant times.

        14.     Defendant Mary Shafer-Malicki (“Shafer-Malicki”) has been a director of the

Company at all relevant times.

        15.     Defendant Steven A. Webster (“Webster”) has been a director of the Company

at all relevant times.

        16.     Defendant James E. Craddock (“Craddock”) has been a director of the Company

at all relevant times.

        17.     Defendants identified in ¶¶ 9 - 16 are collectively referred to as the “Individual

Defendants.”

        18.     Non-Party Parent APA Corporation owns consolidated subsidiaries that explore for

and produce oil and natural gas in the United States, Egypt and the United Kingdom and that

explore for oil and natural gas offshore Suriname.

        19.     Non-Party Merger Sub is a wholly owned subsidiary of Parent created to effectuate

the Proposed Transaction.




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                                 JURISDICTION AND VENUE

        20.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act. This action is not a collusive one to

confer jurisdiction on a court of the United States, which it would not otherwise have. The Court

has supplemental jurisdiction over any claims arising under state law pursuant to 28 U.S.C. § 1367.

        21.      Personal jurisdiction exists over each defendant either because the defendant

conducts business in or maintains operations in this District or is an individual who is either present

in this District for jurisdictional purposes or has sufficient minimum contacts with this District as

to render the exercise of jurisdiction over defendant by this Court permissible under traditional

notions of fair play and substantial justice.

         22.     Venue is proper in this District pursuant to 28 U.S.C. § 1391, because each of the

 Individual Defendants, as Company officers or directors, has extensive contacts within this

 District; for example, the Company’s stock trades on the NYSE which is headquartered in this

 District.

                                SUBSTANTIVE ALLEGATIONS

Company Background

         23.     Defendant Callon operates as an independent oil and natural gas company, focused

 on the acquisition, exploration, and development of oil and natural gas properties in West Texas.

 The Company was founded in 1950 and is headquartered in Houston, Texas.

         24.     The Company’s recent third quarter 2023 results press release, revealing financial

 results from the quarter preceding the announcement of the Proposed Transaction, indicated

 sustained and solid financial performance. For example, in the report of the third quarter 2023



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 financial results dated November 1, 2023, the Company highlighted such milestones as:

 Generated $266.8 million of net cash provided by operating activities; Adjusted free cash flow of

 $48.3 million, marking 14 consecutive quarters of adjusted free cash flow generation; and Capital

 expenditures of $251 were at the low end of guidance.

        25.     Speaking on these positive results, Defendant, President, and CEO Gatto

commented on the Company’s positive results as follows, “The third quarter marked an important

milestone for Callon as we completed a reorganization of our operations group into a business unit

design to improve focus on capital efficiency and capital allocation.”

        26.     Gatto continued, saying “We have delivered tangible benefits from this move in a

short period of time, especially in terms of structural drilling efficiency gains from well design

changes. We now expect to complete approximately 50,000 more lateral feet and commence

drilling an incremental five wells relative to our mid-year forecast. This additional activity will

benefit 2024 production, all while staying within our existing budget. These gains position us well

heading into 2024 and set the stage for incremental structural efficiency gains as the year

progresses. We expect these improvements will reduce our 2024 average total well costs, including

facilities, by over 15%. Our focus into next year remains unchanged -- generate free cash flow,

reduce debt, lower costs and return cash to our owners under our share repurchase program.”

        27.     These results are not an anomaly, but rather, are indicative of a trend of continued

success and future potential success by Callon.

        28.     Despite this upward trajectory, the Individual Defendants have caused Callon to

enter into the Proposed Transaction without providing requisite information to Callon stockholders

such as Plaintiff.




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The Flawed Sales Process

       29.     As detailed in the Registration Statement, the process deployed by the Individual

Defendants was flawed and inadequate, was conducted out of the self-interest of the Individual

Defendants and was designed with only one concern in mind – to effectuate a sale of the Company.

       30.     Notably, the Registration Statement fails to indicate why the Board agreed to a

Proposed Transaction that did not include a collar mechanism to ensure that the merger

consideration remains in a range of reasonableness.

       31.     The Registration Statement is silent as to the nature of the confidentiality agreement

entered into between the Company and APA, whether this agreement differed from any other

agreement with potentially interested third parties not specifically mentioned by the Registration

Statement, if so in all specific manners, including all specific terms of any such included “don’t-

ask, don’t-waive” provisions or standstill provisions contained therein, including, all specific

conditions, if any, under which such provisions would fall away.

       32.     Finally, the Registration Statement fails to provide adequate and complete

disclosure of communications regarding post-transaction employment during the negotiation of

the underlying transaction.

       33.     It is not surprising, given this background to the overall sales process, that it was

conducted in an inappropriate and misleading manner.

The Proposed Transaction

       34.     On January 4, 2024, Callon and APA issued a press release announcing the

Proposed Transaction. The press release stated, in relevant part:

       HOUSTON, Jan. 4, 2024 /PRNewswire/ -- (BUSINESS WIRE) -- APA
       Corporation ("APA" or the "Company") (NASDAQ: APA) and Callon Petroleum
       Company ("Callon") (NYSE: CPE) have entered into a definitive agreement under
       which APA will acquire Callon in an all-stock transaction valued at approximately

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$4.5 billion, inclusive of Callon's net debt. Under the terms of the transaction, each
share of Callon common stock will be exchanged for a fixed ratio of 1.0425 shares
of APA common stock. The transaction is expected to be accretive to all key
financial metrics and add to APA's inventory of high quality, short-cycle
opportunities. Callon's assets provide additional scale to APA's operations across
the Permian Basin, most notably in the Delaware Basin, where Callon has nearly
120,000 acres. On a pro forma basis, total company production exceeds 500,000
BOE per day and enterprise value increases to more than $21 billion.*

Key Highlights

•    Combination of Callon's Delaware-focused footprint with APA's Midland-
     focused footprint provides scale and balance in the Permian Basin;

•    APA's oil-prone acreage in the Midland and Delaware Basin combined will
     increase by more than 50% following the transaction;

•    Expected to be accretive on key financial and value metrics;

•    Estimated overhead, operational and cost-of-capital synergies to exceed $150
     million annually; and

•    Additional scale anticipated to improve credit profile; pro forma balance sheet
     will remain strong with leverage at 1.1x net debt / adjusted EBITDAX.**

Management Commentary

"This transaction is aligned with APA's overall portfolio strategy and fits all the
criteria of our disciplined approach to evaluating external growth opportunities.
Callon has built a strong portfolio in the Permian Basin that is complementary to
our existing Permian assets and rounds out our opportunity set in the Delaware,"
said John J. Christmann IV, APA's CEO and president. "The acquisition is accretive
and unlocks value for both shareholder bases, as increased scale will enable us to
realize significant overhead and cost-of-capital synergies. The pro forma footprint
in the Permian will also create opportunities to capture meaningful operating
synergies."

"We are very proud of the significant steps we have taken to enhance Callon's asset
base, operational performance and balance sheet over the past several years," said
Joe Gatto, Callon's president and CEO. "This combination with APA now provides
for an enhanced value proposition for our shareholders built on their depth of
experience and strong execution in the Permian Basin, flexibility for increased
capital allocation, and ongoing delineation and optimization efforts. Importantly, I
would like to personally thank each and every Callon employee for their role in
building this company. I am very proud of this team and what we have achieved
together."

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       Combined Permian Asset Position and Preliminary 2024 Planned Activity

       Pro forma average daily Permian Basin production was 311 Mboe/d in 3Q 2023,
       which represents a 48% increase from APA's Permian Basin production on a
       standalone basis. APA's oil production as a percentage of BOE's in the Permian
       increases from approximately 37% to 43% in 3Q 2023, on a pro forma basis.

       APA will provide additional activity plans and details post closing.

       Transaction Details

       In this all-stock transaction, each outstanding share of Callon common stock will
       be exchanged for 1.0425 shares of APA common stock, representing an implied
       value to each Callon share of $38.31 per share based on the closing price of APA
       common stock on Jan. 3, 2024. APA is expected to issue approximately 70 million
       shares of common stock in the transaction. After closing, existing APA
       shareholders are expected to own approximately 81% of the combined company
       and existing Callon shareholders are expected to own approximately 19% of the
       combined company. APA expects to retire the existing debt at Callon and replace
       it with APA term loan facilities totaling $2.0 billion. The term loan facilities are
       expected to offer improved optionality for near-term debt reduction. JPMorgan
       Chase Bank, N.A., Citigroup Global Markets Inc. and Wells Fargo Bank, National
       Association, LLC have jointly provided $2.0 billion of committed financing for the
       deal.

       The transaction has been unanimously approved by the Boards of Directors of both
       APA and Callon and is expected to close during the second quarter of 2024, subject
       to customary closing conditions, termination or expiration of the waiting period
       under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, and approval of
       the transaction by shareholders of both APA and Callon. Upon the closing of the
       transaction, a representative from Callon will join the APA board. APA's executive
       management team will lead the combined company with the headquarters
       remaining in Houston, Texas.

Potential Conflicts of Interest

       35.     The breakdown of the benefits of the deal indicates that Callon insiders are the

primary beneficiaries of the Proposed Transaction, not the Company’s public stockholders such as

Plaintiff. The Board and the Company’s executive officers are conflicted because they will have

secured unique benefits for themselves from the Proposed Transaction not available to Plaintiff as

a public stockholder of Callon.

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        36.     The Registration Statement fails to provide a breakdown of the shares of Company

Common Stock held by its Directors and Executives. Furthermore, the Registration Statement is

equally silent as to the breakdown of the consideration each of the above-mentioned Directors and

Executives members will receive pursuant to the Proposed Transaction.

        37.     Additionally, Company insiders currently own large amounts of company options,

restricted stock units, and other equity awards, some of which will be exchanged for the merger

consideration upon the consummation of the Proposed Transaction, not shared amongst Plaintiff

and other public stockholders of the Company.
                              Number of                                     Number of              Estimated
                            Shares Subject         Estimated              Shares Subject            Value of
                              to Vested          Value of Vested           to Unvested           Unvested Callon
                             Callon RSUs         Callon RSUs(1)            Callon RSUs               RSUs(1)
Executive Officers
     Joseph C. Gatto, Jr.                    —                      —                  88,072           $      2,991,806
     Kevin Haggard                           —                      —                  52,558           $      1,785,395
     Russell Parker                          —                      —                  54,727           $      1,859,076
     Michol Ecklund                          —                      —                  46,836           $      1,591,019
     Gregory Conaway                         —                      —                  12,095           $        410,867
Directors(2)
     Frances Aldrich
        Sevilla-Sacasa                      —                        —                       —                       —
     Matthew R. Bob                      4,666          $       158,504                      —                       —
     James E. Craddock                      —                        —                       —                       —
     Barbara J.
        Faulkenberry                     4,666          $       158,504                      —                       —
     Mary Shafer-Malicki                    —                        —                       —                       —
     Anthony J. Nocchiero                4,666          $       158,504                      —                       —
     Steven A. Webster                      —                        —                       —                       —


                                                                                            Estimated
                                                                                             Value of
                                                                                              Callon
                Name                                                                          CPUs
                Executive Officers
                     Joseph C. Gatto, Jr.                                                  $7,853,400
                     Kevin Haggard                                                         $3,263,700
                     Russell Parker                                                        $1,440,000
                     Michol L. Ecklund                                                     $2,418,150
                     Gregory F. Conaway                                                    $1,038,780




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                                                                        Number of
                                                                      Shares Subject          Estimated
                                                                         to Callon          Value of Callon
                                                                         Phantom               Phantom
               Name                                                    Stock Units           Stock Units(1)
               Directors
                    Frances Aldrich Sevilla-Sacasa                          12,998          $     441,542
                    Matthew R. Bob                                              —                      —
                    James E. Craddock                                        4,666          $     158,504
                    Barbara J. Faulkenberry                                     —                      —
                    Mary Shafer-Malicki                                      8,944          $     303,828
                    Anthony J. Nocchiero                                        —                      —
                    Steven A. Webster                                       20,846          $     708,139



       38.        Moreover, certain employment agreements with certain Callon executives entitle

such executives to certain Merger-Related Compensation and severance packages should their

employment be terminated under certain circumstances. These ‘golden parachute’ packages are

significant, and will grant several directors or officers entitled to them millions of dollars,

compensation not shared by Plaintiff and will be paid out as follows:




                                         Merger-Related Compensation
                                                                                       Perquisites/
                                                        Cash              Equity        Benefits              Total
   Name(1)                                              ($)(2)             ($)(3)         ($)(4)               ($)
   Joseph C. Gatto, Jr.                              $16,356,595       $6,388,806      $   51,299      $22,796,700
   Kevin Haggard                                     $ 6,101,573       $1,785,395      $   51,636      $ 7,938,604
   Michol L. Ecklund                                 $ 4,941,304       $1,591,019      $   51,156      $ 6,583,479
   Gregory F. Conaway                                $ 2,768,348       $ 410,867       $   51,744      $ 3,230,959


                                                                                                          Estimated
                                                                                       Earned but          Value of
                                                                          Pro Rata       Unpaid             Callon
   Name                                                   Severance        Bonus       2023 Bonus           CPUs
   Joseph C. Gatto, Jr.                                 $7,228,659        $84,536      $1,190,000       $7,853,400
   Kevin Haggard                                        $2,298,070        $35,803      $ 504,000        $3,263,700
   Michol L. Ecklund                                    $2,056,610        $30,944      $ 435,600        $2,418,150
   Gregory F. Conaway                                   $1,425,125        $20,193      $ 284,250        $1,038,780



       39.        The Registration Statement also fails to adequately disclose communications

regarding post-transaction employment, if any, which took place during the negotiation of the

underlying transaction. Communications regarding post-transaction employment during the

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negotiation of the underlying transaction must be disclosed to stockholders. This information is

necessary for Plaintiff to understand potential conflicts of interest of management and the Board,

as that information provides illumination concerning motivations that would prevent fiduciaries

from acting solely in the best interests of the Company’s stockholders.

        40.    Thus, while the Proposed Transaction is not in the best interests of Callon, Plaintiff,

or Company stockholders, it will produce lucrative benefits for the Company’s officers and

directors.

The Materially Misleading and/or Incomplete Registration Statement

        41.    The Callon Board and APA caused to be filed with the SEC a materially misleading

and incomplete Registration Statement that, in violation the Exchange Act, fails to provide Plaintiff

in his capacity as a Company stockholder with material information and/or provides materially

misleading information critical to the total mix of information available to Plaintiff concerning the

financial and procedural fairness of the Proposed Transaction.

        Omissions and/or Material Misrepresentations Concerning the Sales Process leading up

        to the Proposed Transaction

        42.    Specifically, the Registration Statement fails to disclose material information

concerning the process conducted by the Company and the events leading up to the Proposed

Transaction. In particular, the Registration Statement fails to disclose:

               a.      Adequate information as to why the Board agreed to a Proposed Transaction

                       that did not contain a collar mechanism;

               b.      Whether the confidentiality agreements entered into by the Company with

                       APA differed from any other unnamed confidentiality agreement entered

                       into between the Company and an interested third parties;



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               c.      All specific conditions under which any standstill provision contained in

                       any confidentiality agreement entered into between the Company and

                       potentially interested third parties throughout the sales process, including

                       APA, would fall away; and

               d.      Adequate and complete disclosure of communications regarding post-

                       transaction employment during the negotiation of the underlying

                       transaction.

       Omissions and/or Material Misrepresentations Concerning Callon and APA Financial

       Projections

        43.    The Registration Statement also fails to provide material information concerning

financial projections for Callon and APA provided by Callon management to the Board and

Morgan Stanley and relied upon by Morgan Stanley in their analyses.

        44.    Notably, the Registration Statement reveals that, as part of its analyses, Morgan

Stanley reviewed, among other things: “Certain internal financial analyses and forecasts for Callon

prepared by its management, as approved by Morgan Stanley’ used by Callon.”

        45.    The Registration Statement should have, but fails to provide, certain information in

the projections that Callon management provided to the Board and Morgan Stanley. Courts have

uniformly stated that “projections … are probably among the most highly-prized disclosures by

investors. Investors can come up with their own estimates of discount rates or [] market multiples.

What they cannot hope to do is replicate management’s inside view of the company’s prospects.”

In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

        46.    With regard to Callon Forecasted Financial Information, prepared by Callon, the

Registration Statement fails to disclose material line items, including the following:



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    a. For Callon Management Projections for Callon, disclose:

           i. The underlying inputs, metrics, and assumptions used to determine

              Callon’s Total Revenue for Case A;

          ii. The underlying inputs, metrics, and assumptions used to determine

              Adjusted EBITDAX for Case A;

          iii. The underlying inputs, metrics, and assumptions used to determine

              Unlevered Free Cash Flow for Case A;

          iv. The underlying inputs, metrics, and assumptions used to determine

              Callon’s Total Revenue for Case B;

           v. The underlying inputs, metrics, and assumptions used to determine

              Adjusted EBITDAX for Case B; and

          vi. The underlying inputs, metrics, and assumptions used to determine

              Unlevered Free Cash Flow for Case B.

    b. For Callon Management Projections for APA, disclose:

           i. The underlying inputs, metrics, and assumptions used to determine

              Callon’s Total Revenue for Case A;

          ii. The underlying inputs, metrics, and assumptions used to determine

              Adjusted EBITDAX for Case A;

          iii. The underlying inputs, metrics, and assumptions used to determine

              Unlevered Free Cash Flow for Case A;

          iv. The underlying inputs, metrics, and assumptions used to determine

              Callon’s Total Revenue for Case B;

           v. The underlying inputs, metrics, and assumptions used to determine



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                           Adjusted EBITDAX for Case B; and

                      vi. The underlying inputs, metrics, and assumptions used to determine

                           Unlevered Free Cash Flow for Case B.

        47.    The Registration Statement fails to disclose a reconciliation of all non-GAAP to

GAAP metrics utilized in the projections.

        48.    The Registration Statement also fails to provide the specific bases and adjustments

upon which the assumptions underlying the various sets of projections rely.

        49.    The Registration Statement’s failure to disclose substantive material projection data

prevents Plaintiff from being fully informed as to the nature of the Proposed Transaction and

preventing him from making a fully informed decision on whether to vote in favor of the same.

        50.    This information is necessary to provide Plaintiff, in his capacity as a Company

stockholder, with a complete and accurate picture of the sales process and its fairness. Without

this information, Plaintiff is not fully informed as to Defendants’ actions, including those that may

have been taken in bad faith, and cannot fairly assess the process.

        51.    Without complete and accurate projection data for Callon or APA being presented

in the Registration Statement, Plaintiff is unable to properly evaluate the Company’s true worth,

the value of the merger consideration, the accuracy of Goldman Sach’s financial analyses, or make

an informed decision whether to vote in favor of the Proposed Transaction. As such, the Board

has violated the Exchange Act by failing to include such information in the Registration Statement.

       Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

       Morgan Stanley

       52.     In the Registration Statement, Morgan Stanley describes its fairness opinion and

the various valuation analyses performed to render such opinion. However, the descriptions fail



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to include necessary underlying data, support for conclusions, or the existence of, or basis for,

underlying assumptions. Without this information, one cannot replicate the analyses, confirm the

valuations, or evaluate the fairness opinions.

        53.     With respect to the Discounted Cash Flow Analysis, the Registration Statement

fails to disclose:

                a. For Callon Discounted Cash Flow Analysis, disclose:

                       i. The inputs, metrics, and assumptions used to determine the discount

                           rates ranging from 10.3% to 11.6% utilized;

                       ii. Callon’s weighted average cost of capital utilized;

                      iii. The inputs, metrics, and assumptions used to determine Callon’s net

                           asset value, including specifically: net debt, cash-settled awards, asset

                           retirement obligations, and net working capital; and

                      iv. The number of fully diluted shares of Callon common stock outstanding

                           as of January 2, 2024.

                b. For APA Discounted Cash Flow Analysis, disclose:

                       i. The inputs, metrics, and assumptions used to determine the discount

                           rates ranging from 10.3% to 11.6% utilized;

                       ii. APA’s weighted average cost of capital utilized;

                      iii. The inputs, metrics, and assumptions used to determine APA’s net asset

                           value, including specifically: net debt, cash-settled awards, asset

                           retirement obligations, and net working capital; and

                      iv. The number of fully diluted shares of APA common stock outstanding

                           as of January 2, 2024.



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        54.     With respect to the Comparable Company Analysis, the Proxy Statement fails to

disclose:

                a. For Comparable Companies of Callon, disclose:

                       i. The specific metrics observed for each comparable company;

                       ii. The inputs, metrics and assumptions used to determine the multiples

                           reference ranges of 2.5x – 3.5x for AV/ 2024E EBITDAX and 2.5x –

                           3.5x for AV/ 2025E EBITDAX; and

                      iii. The inputs, metrics, and assumptions used to determine the reference

                           range of 2.0x – 3.0x for P/ 2024E Operating Cash Flow Per Share and

                           2.0x – 3.0x for P/ 2025E Operating Cash Flow Per Share.

                b. For Comparable Companies of APA, disclose:

                       i. The specific metrics observed for each comparable company;

                       ii. The inputs, metrics and assumptions used to determine the multiples

                           reference ranges of 3.0x – 4.0x for AV/ 2024E EBITDAX and 3.0x –

                           4.0x for AV/ 2025E EBITDAX; and

                      iii. The inputs, metrics, and assumptions used to determine the reference

                           range of 3.0x – 3.5x for P/ 2024E Operating Cash Flow Per Share and

                           3.0x – 3.5x for P/ 2025E Operating Cash Flow Per Share.

        55.     With respect to the Precedent Transactions Analysis, the Registration Statement

fails to disclose:

                a. The specific date on which each transaction closed;

                b. The aggregate value of each selected precedent transaction;




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                c. The specific inputs, metrics, and assumptions used to derive Callon’s AV to

                     Estimated 2023 Adj. EBITDAX reference range of 3.0x – 4.0x utilized

                d. The number of fully diluted shares of Callon as of January 2, 2024, utilized;

                e. The specific inputs, metrics, and assumptions used to derive APA’s AV to

                     Estimated 2023 Adj. EBITDAX reference range of 4.0x – 5.0x utilized; and

                f. The number of fully diluted shares of APA as of January 2, 2024, utilized.

        56.     With respect to the Equity Research Valuation, the Registration Statement fails to

disclose:

                a. The specific sell-side analyst price targets analyzed with respect to Callon’s

                     valuation;

                b. The specific Wall Street firms that published the analyzed price targets with

                     respect to Callon;

                c. The specific sell-side analyst price targets analyzed with respect to APA’s

                     valuation; and

                d. The specific Wall Street firms that published the analyzed price targets with

                     respect to APA.

        57.     With respect to the Implied Exchange Ratios Analysis, the Registration Statement

fails to disclose:

                a. The number of fully diluted shares of Callon Common Stock outstanding as of

                     January 2, 2024; and

                b. The number of fully diluted shares of APA Common Stock outstanding as of

                     January 2, 2024.




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        Omissions and/or Material Misrepresentations Concerning the Financial Analyses by Citi

        58.     In the Registration Statement, Citi describes its fairness opinion and the various

valuation analyses performed to render such opinion. However, the descriptions fail to include

necessary underlying data, support for conclusions, or the existence of, or basis for, underlying

assumptions. Without this information, one cannot replicate the analyses, confirm the valuations,

or evaluate the fairness opinions.

        59.     With respect to the Net Asset Value Analysis, the Registration Statement fails to

disclose:

                a. For APA – Net Asset Value Analysis, disclose:

                        i. The inputs, metrics, and assumptions used to determine the discount

                           rates range of 8.9% to 9.6% utilized;

                       ii. APA’s weighted average cost of capital utilized; and

                      iii. The inputs, metrics, and assumptions used to determine APA’s implied

                           equity value range.

                b. For Callon – Net Asset Value Analysis, disclose:

                        i. The inputs, metrics, and assumptions used to determine the discount

                           rates range of 9.4% to 10.3% utilized;

                       ii. Callon’s weighted average cost of capital utilized; and

                      iii. The inputs, metrics, and assumptions used to determine Callon’s

                           implied equity value range.

        60.     With respect to the Discounted Cash Flow Analysis, the Registration Statement

fails to disclose:

                a. For APA Discounted Cash Flow Analysis, disclose:



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                        i. The inputs, metrics, and assumptions used to determine the EBITDA

                           multiples range of 3.6x – 4.3x utilized;

                       ii. The inputs, metrics, and assumptions used to determine the discount

                           rates ranging from 8.9% to 9.6% utilized;

                      iii. APA’s weighted average cost of capital utilized; and

                      iv. The inputs, metrics, and assumptions used to determine APA’s terminal

                           values as of September 30, 2023.

                b. For Callon Discounted Cash Flow Analysis, disclose:

                        i. The inputs, metrics, and assumptions used to determine the EBITDA

                           multiples range of 2.8x – 3.7x utilized;

                       ii. The inputs, metrics, and assumptions used to determine the discount

                           rates ranging from 9.4% to 10.3% utilized;

                      iii. Callon’s weighted average cost of capital utilized; and

                      iv. The inputs, metrics, and assumptions used to determine Callon’s

                           terminal values as of September 30, 2023.

        61.     With respect to the Selected Public Company Analysis, the Proxy Statement fails to

disclose:

                a. For Selected Companies for APA, disclose:

                        i. The specific metrics observed for each comparable company; and

                       ii. The inputs, metrics and assumptions used to determine the 2024

                           estimated adjusted EBITDA multiples reference range of 3.1x to 4.0x

                           utilized.

                b. For Selected Companies for Callon, disclose:



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                        i. The specific metrics observed for each comparable company; and

                       ii. The inputs, metrics and assumptions used to determine the 2024

                           estimated adjusted EBITDA multiples reference range of 2.7x to 3.6x

                           utilized.

       62.      With respect to the Selected Precedent Transactions Analysis, the Registration

Statement fails to disclose:

                a. The specific date on which each transaction closed;

                b. The aggregate value of each selected precedent transaction; and

                c. The specific inputs, metrics, and assumptions used to determine Callon’s 2024E

                   EBITDA multiple range of 2.7x to 3.2x utilized.

       63.      With respect to the Equity Research Valuation, the Registration Statement fails to

disclose:

                a. For Equity Research for APA, disclose:

                        i. The specific sell-side analyst price targets analyzed with respect to

                           APA’s valuation;

                       ii. The specific Wall Street firms that published the analyzed price targets

                           with respect to APA;

                b. For Equity Research for Callon, disclose:

                        i. The specific sell-side analyst price targets analyzed with respect to

                           Callon’s valuation; and

                       ii. The specific Wall Street firms that published the analyzed price targets

                           with respect to Callon.




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       64.      With respect to the Selected Precedent Transaction Premiums Analysis, the

Registration Statement fails to disclose the specific inputs, metrics, and assumptions used to

determine the premiums range of 0.4% to 17.8% utilized.

       Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

       WFS

       65.      In the Registration Statement, WFS describes its fairness opinion and the various

valuation analyses performed to render such opinion. However, the descriptions fail to include

necessary underlying data, support for conclusions, or the existence of, or basis for, underlying

assumptions. Without this information, one cannot replicate the analyses, confirm the valuations,

or evaluate the fairness opinions.

       66.      With respect to the Selected Public Company Analysis, the Proxy Statement fails to

disclose:

                a. For Selected Companies for Callon, disclose:

                        i. The specific metrics observed for each comparable company; and

                       ii. The inputs, metrics and assumptions used to determine the 2024E

                           EBITDA and 2025E EBITDA multiples reference range of 3.00x to

                           3.75x utilized.

                b. For Selected Companies for APA, disclose:

                        i. The specific metrics observed for each comparable company; and

                       ii. The inputs, metrics and assumptions used to determine the 2024E

                           EBITDA and 2025E EBITDA multiples reference range of 3.00x to

                           4.00x utilized.




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       67.      With respect to the Net Asset Value Analysis, the Registration Statement fails to

disclose:

                a. For Callon Net Asset Value Analysis, disclose:

                        i. The inputs, metrics, and assumptions used to determine the discount

                           rates range of 9.5% to 12.0% utilized; and

                       ii. Callon’s weighted average cost of capital utilized.

                b. For APA Net Asset Value Analysis, disclose:

                        i. The inputs, metrics, and assumptions used to determine the discount

                           rates range of 8.0% to 9.5% utilized; and

                       ii. APA’s weighted average cost of capital utilized.

                c. For Pro Forma Net Asset Value Analysis, disclose:

                        i. The inputs, metrics, and assumptions used to determine the discount

                           rates range of 8.0% to 9.5% utilized.

       68.      With respect to the Equity Research Valuation, the Registration Statement fails to

disclose:

             c. For Equity Research for Callon, disclose:

                   iv. The specific sell-side analyst price targets analyzed with respect to Callon’s

                       valuation;

                    v. The specific Wall Street firms that published the analyzed price targets with

                       respect to Callon;

             d. For Equity Research for APA, disclose:

                   vi. The specific sell-side analyst price targets analyzed with respect to APA’s

                       valuation; and



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                 vii. The specific Wall Street firms that published the analyzed price targets with

                       respect to APA.

       69.     These disclosures are critical for Plaintiff to be able to make an informed decision

on whether to vote in favor of the Proposed Transaction.

       70.     Without the omitted information identified above, Plaintiff is missing critical

information necessary to evaluate whether the proposed consideration truly maximizes his value

and serves his interest as a stockholder. Moreover, without the key financial information and

related disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s

determination that the Proposed Transaction is in his best interests as a public Callon stockholder.

As such, the Board has violated the Exchange Act by failing to include such information in the

Registration Statement.

                                          FIRST COUNT

                          Violations of Section 14(a) of the Exchange Act

                                     (Against All Defendants)

       71.     Plaintiff repeats all previous allegations as if set forth in full herein.

       72.     Defendants have disseminated the Registration Statement with the intention of

soliciting stockholders, including Plaintiff, to vote in favor of the Proposed Transaction.

       73.     Section 14(a) of the Exchange Act requires full and fair disclosure in connection

with the Proposed Transaction. Specifically, Section 14(a) provides that:

       It shall be unlawful for any person, by the use of the mails or by any means or
       instrumentality of interstate commerce or of any facility of a national securities
       exchange or otherwise, in contravention of such rules and regulations as the [SEC]
       may prescribe as necessary or appropriate in the public interest or for the protection
       of investors, to solicit or to permit the use of his name to solicit any proxy or consent
       or authorization in respect of any security (other than an exempted security)
       registered pursuant to section 78l of this title.



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       74.     As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:

       No solicitation subject to this regulation shall be made by means of any proxy
       statement, form of proxy, notice of meeting or other communication, written or
       oral, containing any statement which, at the time and in the light of the
       circumstances under which it is made, is false or misleading with respect to any
       material fact, or which omits to state any material fact necessary in order to make
       the statements therein not false or misleading or necessary to correct any statement
       in any earlier communication with respect to the solicitation of a proxy for the same
       meeting or subject matter which has become false or misleading.

       75.     The Registration Statement was prepared in violation of Section 14(a) because it is

materially misleading in numerous respects and omits material facts, including those set forth

above. Moreover, in the exercise of reasonable care, Defendants knew or should have known that

the Registration Statement is materially misleading and omits material facts that are necessary to

render them non-misleading.

       76.     The Individual Defendants had actual knowledge or should have known of the

misrepresentations and omissions of material facts set forth herein.

       77.     The Individual Defendants were at least negligent in filing a Registration Statement

that was materially misleading and/or omitted material facts necessary to make the Registration

Statement not misleading.

       78.     The misrepresentations and omissions in the Registration Statement are material to

Plaintiff, and Plaintiff will be deprived of his entitlement to decide whether to vote his shares in

favor of the Proposed Transaction on the basis of complete information if such misrepresentations

and omissions are not corrected prior to the stockholder vote regarding the Proposed Transaction.

                                        SECOND COUNT

                        Violations of Section 20(a) of the Exchange Act

                               (Against all Individual Defendants)

       79.     Plaintiff repeats all previous allegations as if set forth in full herein.

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       80.     The Individual Defendants were privy to non-public information concerning the

Company and its business and operations via access to internal corporate documents, conversations

and connections with other corporate officers and employees, attendance at management and

Board meetings and committees thereof and via reports and other information provided to them in

connection therewith. Because of their possession of such information, the Individual Defendants

knew or should have known that the Registration Statement was materially misleading to Plaintiff

in his capacity as a Company stockholder.

       81.     The Individual Defendants were involved in drafting, producing, reviewing and/or

disseminating the materially false and misleading statements complained of herein. The Individual

Defendants were aware or should have been aware that materially false and misleading statements

were being issued by the Company in the Registration Statement and nevertheless approved,

ratified and/or failed to correct those statements, in violation of federal securities laws. The

Individual Defendants were able to, and did, control the contents of the Registration Statement.

The Individual Defendants were provided with copies of, reviewed and approved, and/or signed

the Registration Statement before its issuance and had the ability or opportunity to prevent its

issuance or to cause it to be corrected.

       82.     The Individual Defendants also were able to, and did, directly or indirectly, control

the conduct of Callon’s business, the information contained in its filings with the SEC, and its

public statements. Because of their positions and access to material non-public information

available to them but not the public, the Individual Defendants knew or should have known that

the misrepresentations specified herein had not been properly disclosed to and were being

concealed from Plaintiff and Company, and that the Registration Statement was misleading. As a




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result, the Individual Defendants are responsible for the accuracy of the Registration Statement

and are therefore responsible and liable for the misrepresentations contained herein.

       83.     The Individual Defendants acted as controlling persons of Callon within the

meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the

Individual Defendants had the power and authority to cause Callon to engage in the wrongful

conduct complained of herein. The Individual Defendants controlled Callon and all of its

employees. As alleged above, Callon is a primary violator of Section 14 of the Exchange Act and

SEC Rule 14a-9. By reason of their conduct, the Individual Defendants are liable pursuant to

section 20(a) of the Exchange Act.

       WHEREFORE, Plaintiff demands injunctive relief, in his favor and against the Defendants,

as follows:

       A.      Enjoining the Proposed Transaction;

       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

       setting it aside or awarding rescissory damages to Plaintiff;

       C.      Directing the Individual Defendants to exercise their fiduciary duties to disseminate

       a Registration Statement that does not contain any untrue statements of material fact and

       that states all material facts required in it or necessary to make the statements contained

       therein not misleading;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

       Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.




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                             DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a jury on all issues which can be heard by a jury.

Dated: February 20, 2024                            BRODSKY & SMITH

                                             By:    Evan J. Smith
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                                                    Mineola, NY 11501
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                                                    Counsel for Plaintiff




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